Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 1 of 30




                                  IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA

                               Plaintiff,
                                                                         Case No. 09-CR-043-SPF

 v.

 LINDSEY KENT SPRINGER,
 OSCAR AMOS STILLEY

                               Defendants

      BRIEF/MEMORANDUM IN SUPPORT OF MOTION TO DISQUALIFY, RECUSE AND

                   REMOVE, STEPHEN P. FRIOT AND RANDOM REASSIGNMENT


 I. Table of Contents

      A.   Undisputed Facts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

      B.   Argument . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

   1.      Stephen P. Friot was not ever nor is a commissioned Article III Judge assigned
           to the United States’ Northern Oklahoma Judicial District Court, pursuant to
           Title 28, Section 116(a) boundaries, or within the jurisdiction of section 116(a)
           district court . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

      2.   Chief Judge Claire V. Eagan had no judicial power or other lawful authority
           to “assign” Stephen P. Friot to exercise Article III inferior Court jurisdiction and
           authority within the United States’ Northern Oklahoma Judicial District Court
             . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10

      3.   Misc.# 23 does not designate Stephen P. Friot to 09-cr-043 or for any other
           specific public interest or temporarily hold a court other than of his
           commission . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

      4.   Misc. # 23 is not lawful under Title 28, Section 292(b) and invalid . . . . . . 15


                                                                  -i-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 2 of 30




       5.   Chief Judge of Tenth Circuit and District Court have no Appointment Clause
            Authority to appoint any inferior commissioned officer under Article III as only
            Congress and the President are constitutionally enumerated . . . . . . . . . 18

       6.   Assignment of Stephen P. Friot is unconstitutional . . . . . . . . . . . . . . . . . . . 23

   C.       Conclusion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24

 II.        Table of Authority . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ii

   A.       Cases

            American Constr. Co. v. Jacksonville, T. & K. W. R. Co., 148 U.S. 372 (1893)17

            Ball v. United States, 140 U.S. 118 128 (1891) . . . . . . . . . . . . . . . . . . . . . . . . 16

            Freytag v. Commissioner, 501 U.S. 868, 878 (1991) . . . . . . . . . . . . . . . . . . . 21

            Glidden Company v. Zdanok, 370 U.S. 530, 535 (1962) . . . . . . . . . . . . . 16,17

            Gomez 490 U.S. 858 (1989) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

            Gonzalez v. U.S., 06-11612, page 11 (U.S. 5-12-2008) . . . . . . . . . . . . . . . . . 23

            Hallstrom v. Tillamook County, 493 U.S. 20, 27 (1989) . . . . . . . . . . . . . . . . . 23

            In Re Kensington Intern. LTD., 368 F.3d 289, 319 (3rd Cir. 2004) . . . . . . . . . 12

            In Re Federal-Mogul Global Inc., 300 F.3d 368, 373 (3rd Cir. 2002) . . . . . 12

            In Re Jaritz Industries, 151 F.3d 93, 104 (3rd Cir. 1998) . . . . . . . . . . . . . . . . 13

            In Re Estate of Ferdinand E. Marcos Litigation, 978 F.2d 493, 503(9th Cir. 1992)

            . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13

            Keller v. Potomac Electric Company, 261 U.S. 428, 440, 442, 443 . . . . . . . 22

            McDowell v. United States, 159 U.S. 596, 602 . . . . . . . . . . . . . . . . . . . . . . . . 16

            Mistretta v. United States, 488 U.S. 361, 382 (1989) . . . . . . . . . . . . . . . . . . . 21


                                                                   -ii-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 3 of 30




       Moran v. Dillingham, 174 U.S. 153, 158 (1899) . . . . . . . . . . . . . . . . . . . . . . . 18

       Nguyen v. United States, 539 U.S. 69, 79 (2003) . . . . . . . . . . . . . . . . . . . . 16,18

       Postum Cereal Co. v. Calif. Fig. Nut. Co., 272 U.S. 693, 700 (1927) . . . . . . 22

       Prentis v. Atlantic Coast Line Company, 211 U.S. 210, 225, 226 . . . . . . . . 22

       United States v. Rodriguez-Moreno, 526 U.S. 275, 278 (1999) . . . . . . . . . . . 22

       William Cramp & Sons Ship & Engine Building Co. v. International Curtiss

       Marine Turbine Co., 228 U.S. 645 (1913) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17

  B.   Statutes

       Title 4, Section 72 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16

       Title 26, Section 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

       Title 26, Section 61 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

       Title 26, Section 63 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

       Title 26, Section 6011 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

       Title 26, Section 6012 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

       Title 26, Section 6071 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

       Title 26, Section 6091 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

       Title 26, Section 6151 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

       Title 26, Section 7203 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

       Title 28, Section 41 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21

       Title 28, Section 44 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16

       Title 28, Section 116(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 10, 11,14,15


                                                          -iii-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 4 of 30




        Title 28, Section 116(c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 10

        Title 28, Section 132 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1,11

        Title 28, Section 133 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1,11,20

        Title 28, Section 134 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1,11

        Title 28, Section 292(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12,13,14,15,18,20

        Title 28, Section 451 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

        Title 28, Section 455(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

        Title 28, Section 455(b)(1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

   C.   Regulations

        26 CFR 601.101 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

   D.   Constitution

        Article II, Section 2, Clause 2 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19,23

        Article III, Section 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18,22,23

        Article III, Section 2, Clause 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11,22,23,24

        Fifth Amendment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

        Sixth Amendment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11,23,24

   E. Local Rules

        LCvR40.1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1,10

   F.   Misc.

        Misc. # 23 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13,14,18,19,20




                                                            -iv-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 5 of 30




       Lindsey Kent Springer (“Springer”) files this memorandum in support of his

 Motion (1) to Disqualify the Honorable Stephen P. Friot United States’ Western

 Oklahoma District Court Judge from 09-cr-043 pursuant to Title 28, Sections 455(a)

 due to partiality in favor of the United States, 455(b)(1) due to prejudice, (2) for

 recusal based upon Stephen P. Friot’s lack of jurisdiction outside the geographical

 boundaries set to his commission at Title 28, Sections 116(c), 132, 133, 134 and 451,

 (3) removal from holding court in the Northern Oklahoma Judicial District under

 Article III, and (4) for random reassignment under LCvR40.1.

                            FACTS RELEVANT TO MOTION

       The Internal Revenue Service is a creature created by the Secretary of

 Treasury at 26 CFR 601.101.

       On May 29, 1985, Wayne Edward Alley was nominated by then President

 Ronald Reagan to a newly enacted inferior Article III office in the United States’

 Western Oklahoma Judicial District, at 98 Stat. 333. The senate confirmed the

 appointment on July 10, 1985. Judge Alley took senior status in 1999.

       On or by October, 2000, all internal revenue districts encompassing the State

 of Oklahoma were abolished and all district director offices were also abolished at

 the same time. See Doc. 71.pg. 4.

       On September 4, 2001, Stephen P. Friot, was nominated by then President

 George W. Bush to hold an Article III Judicial Office formerly held by Judge Alley,

 in the United States’ Western Judicial District during good behaviour. Stephen P.


                                          -1-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 6 of 30




 Friot commission began on November 12, 2001.1

       On August 31, 2004, Chief Judge Eagan, United States’ Northern Oklahoma

 Judicial District, entered an order involving an agreement between Douglas Horn,

 Melody Nelson and Eddy Patterson, in exchange for some future reduction in Mr.

 Patterson’s sentence if Mr. Patterson assisted in the “on going” Grand Jury

 investigation of Affiant and Stilley. Doc. 77-22

       On September 1, 2004, Chief Judge Eagan granted a 35(b) motion in favor

 of Ms. Patterson in 03-cr-055 reducing Ms. Patterson’s sentence 14 months in

 exchange for her withdrawing her appeal at the 10th Circuit and agreeing to testify

 before an ongoing Grand Jury investigating Affiant. Doc. 77-23

       Ms. Patterson testified before a Grand Jury sitting in the United States

 Courthouse in Tulsa Oklahoma no October 6, 2004. Exhibit 1

       On April 25, 2005, affiant filed case 05-466, styled Affiant v. IRS, in the United

 States Western Oklahoma Judicial District Court and was assigned the Honorable

 Stephen P. Friot as the District Judge.

       On September 15, 2005, affiant filed case 05-1075, styled Affiant v. IRS, in the

 United States Western Oklahoma Judicial District Court and was assigned the

 Honorable Stephen P. Friot as the District Judge.

       On October 6, 2005, the Honorable Stephen P. Friot dismissed affiant’s




       1
       The boundaries or border Congress set for the United States’ Western
 Oklahoma Judicial District Court are listed at Title 28, Section 116(c).

                                           -2-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 7 of 30




 complaint in 05-466 in favor of the IRS.

       On February 17, 2006, affiant filed case 06-cv-110, styled Affiant v. IRS, in the

 United States’ Northern Oklahoma Judicial District Court and was assigned the

 Honorable Chief Judge Claire V. Eagan.

       On June 21, 2006, the Honorable Chief Judge Claire V. Eagan, instead of

 recusing herself, issued an order in favor of the IRS and against affiant and

 referenced knowledge of both 05-466 and 05-1075 therein.

       On August 7, 2006, the Honorable Stephen P. Friot dismissed affiant’s

 complaint in 05-1075 in favor of the IRS.

       On March 10, 2009, a Title 28, Section 1861 “Grand Jury” sitting in the United

 States Courthouse in Tulsa, Oklahoma, purportedly returned an “indictment”

 pursuant to the Fifth Amendment naming Lindsey Kent Affiant and Oscar Amos

 Stilley for violating internal revenue laws in a Judicial District.

       On March 10, 2009, Honorable Judge James H. Payne was randomly

 assigned according to local rules of civil procedure Rule 40.1(a) . On March 18,

 2009, Affiant filed a Bill of Particulars. Doc. 7 On March 18, 2009, Honorable Judge

 James H. Payne recused him self citing conflict of interest in this case. Doc. 9

       On March 31, 2009, Honorable Chief Judge Claire V. Eagan directed the

 Clerk of Court to bypass local civil Rule 40.1(a) and to direct the Honorable Western

 Oklahoma Judicial District Judge Stephen P. Friot, to preside in 09-cr-043. Doc. 24

       On April 7, 2009, Affiant moved for clarification of appointment. Doc. 30.


                                             -3-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 8 of 30




 On April 10, 2009, Stephen P. Friot ordered a hearing on his assignment. Doc. 34

 On April 16, 2009, the United States responded to Affiant’s Motion attaching Misc.

 # 23 to its response. Doc. 42

       On April 22, 2009, during a purported pretrial conference Stephen P. Friot

 informed Affiant his Motion to Clarify was granted and that he had been clarified.

 On April 22, 2009, Stephen P. Friot denied without prejudice Affiant’s Motion for Bill

 of Particulars. Doc. 43.

       On April 22, 2009, Stephen P. Friot ordered all the sealed pleadings in 03-cr-55

 to be turned over to him in the United States District Court for the Western

 Oklahoma Judicial District by April 29, 2009 concerning Judith and Eddy Patterson.2

 Those pleadings showed Chief Judge Eagan3 had given 35(b) relief to Judith

 Patterson under false pretenses made both by Melody Nelson and Douglas Horn,

 along with William Widell, and with knowledge of Judge Eagan.

       On May 15, 2009, Affiant submitted 8 Motions to Dismiss and 8 memorandums

 in support of such motions. See Doc. 51-66 with attached exhibits These Motions

 to Dismiss included failure to allege an offense, lack of jurisdiction and venue,

 violation of the Paperwork Reduction Act, violations of the Fifth Amendment, errors

 in the obtaining information by way of summons and search warrant, challenge to

 the constitutionality of certain provisions, among others.



       2
           See affidavit of Lindsey Kent Springer, footnote 2, page 5.
       3
           See affidavit of Lindsey Kent Springer, footnote 3, page 5.

                                            -4-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 9 of 30




       On May 22, 2009, Affiant received from the Clerk’s Office a copy of the only

 document purporting to be an “affidavit” with Brian Shern’s name on it unsworn

 and signed in blue ink only by Shern. On June 1, 2009, this was brought to the

 Court’s attention with the affidavit Affiant filed simultaneously with his Motion to

 Suppress and for Frank’s hearing.

       On May 22, 2009, Trial was set by Stephen P. Friot for October 26, 2009.

       On May 29, 2009, Mr. Snoke and Mr. O’Reilly (“Prosecution”) filed their

 response in opposition to Affiant’s 8 motions to dismiss. Doc. 714

       On June 1, 2009, Affiant filed a Motion for Frank’s Hearing and to Suppress

 evidence obtained unlawfully by Brian Shern and Donna Meadors. See Doc. 74

 and 75.

       On July 2, 2009, Stephen P. Friot denied Affiant’s Motion for Frank’s hearing

 and Motion to Suppress without any findings of facts or conclusions of law. 5 See

 Doc. 100

       Stephen P. Friot also denied Affiant’s Motion to Dismiss docket # 51 through

 66 and again by minute order without any findings of facts or conclusions of law as

 required by Federal Rules of Criminal Procedure 12 and due process under the Fifth

 Amendment.



       4
       Directing this Court that all “internal revenue districts” were in fact and
 law “abolished” as of the year 2000 rendering jurisdiction absent.
       5
       Stephen P. Friot warned Affiant not to ever bring up the affidavit or its
 defect of not being sworn to or missing page 18 again.

                                          -5-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 10 of 30




        At hearing on July 2, 2009, Stephen P. Friot directed the Prosecution to

  provide a bill of particulars identifying each statute meant by the phrase “required

  by law” in Counts Two, Three, Five and Six. On July 14, 2009, the Prosecution

  provided a list of “internal revenue laws” including Section 1, 61, 63, 6011, 6012,

  6071, 6091, 6151 and 7203 under Title 26, United States Code.

        Affiant moved for a Third (labeled “Second”) Bill of Particulars based upon

  the inclusion of Section 6011 and “when required by regulations” and Stephen P.

  Friot denied the motion without any record explaining why. Doc. 105

        On August 12, 2009, Affiant again moved to dismiss Counts One through Six.

  Doc. 123 and 124. On September 18, 2009, Stephen P. Friot denied as out of time

  Docket # 123 and denied # 105 without comment. Doc. 136

        On September 21, 2009, the Prosecution filed its Trial Brief and littered the

  ground with the term “regulations.” Doc. 138

        On September 30, 2009, Affiant moved for a Fourth Bill of Particulars regarding

  the use of the term “regulations” on the Prosecution Trial Brief. Doc. 166

  On October 8, 2009, Stephen P. Friot granted Doc. 166. Doc. 184 and again 192.

        On October 19, 2009, the Prosecution filed its list of regulations which did not

  include any regulations under section 6091 or 6151. Doc. 201

        On October 21, 2009, the Prosecution turned over to Affiant the Grand Jury

  transcript of Judith Patterson from October 6, 2004 in violation of every ethic and

  moral obligation the United States’ lawyers had under the sun.


                                           -6-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 11 of 30




           On October 26, 2009, a purported sixth amendment jury trial began.

           On November 1, 2009, Affiant moved to reconsider Stephen P. Friot’s minute

  order denial dated July 2, 2009, Doc. 100, regarding Affiant’s Motion to Suppress

  evidence and motion for Frank’s Hearing (if that was appropriate) in light of the

  revelation Judith Patterson6 had in fact testified before a “grand jury” on October

  6, 2004, rendering the institutional referral to have taken place prior to that date.7

           On November 13, 2009, Mr. Snoke informed Stephen P. Friot that he was

  needing excused from November 16, 2009, trial continuation because he was due

  to orally argue in the Tenth Circuit in 08-cv-636, 08-cv-620(NDOk), 09-5034 and 09-

  5035 .

           This request was affirmed by Stephen P. Friot after Mr. Snoke acknowledged

  the orders Mr. Snoke was defending were orders issued by Stephen P. Friot.

           On November 16, 2009, the purported jury, based upon the erroneous

  instructions Stephen P. Friot propounded to them, and over Affiant’s objections at

  that time, returned guilty verdicts on all six counts after an allen instruction.

           On November 20, 2009, the Prosecution filed its Response in Opposition to



           6
               See affidavit of Lindsey Kent Springer, footnote 6, page 5.
           7
           The United States has argued they actually provided this transcript of Ms.
  Patterson to Affiant on October 16, 2009, the same day Affiant was in California
  with the United States taking the deposition of Vikki Wiggins. The deception,
  false assertions and lies surrounding Douglas Horn, Melody Nelson and Kenneth
  Snoke, and when the Grand Jury referral from the IRS occurred as to Affiant and
  Stilley, which is obviously before October, 2004, by the revelation of Ms.
  Patterson’s Grand Jury testimony, warranted complete suppression.

                                                -7-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 12 of 30




  Affiant’s Motion to Reconsider. Doc. 252

        On November 27, 2009, the Tenth Circuit docketed 09-5165, “In re Lindsey

  Kent Affiant” addressed to Stephen P. Friot and Chief Judge Claire V. Eagan.

        On December 4, 2009, Mr. Snoke entered his appearance in 09-5165 on

  behalf of Stephen P. Friot in 09-5165.

        On December 4, 2009, an empaneled group of three Tenth Circuit Judges

  denied Affiant’s Petition in 09-5165.

        On December 9, 2009, Stephen P. Friot issued an order that struck Affiant’s

  Reply (Doc. 257)to the Prosecution’s Response in Opposition (Doc. 252) at Doc. 264

  claiming Affiant’s Reply did not comply with local civil rules. Stephen P. Friot also,

  without cause struck Affiant’s Motion for Judgement of Acquittal without identifying

  where Affiant was given any notice in the Northern Oklahoma Judicial District Rules

  that civil rules apply to Motions under Rule 29(c) or any other Motion for that matter.

        On December 10, 2009, Affiant moved to vacate Stephen P. Friot’s order

  dated December 9, 2009 (Doc. 264). See Doc. 265.

        On December 11, 2009, Mr. Snoke,8 the one defending Stephen P. Friot’s

  order in in 08-cv-636, 08-cv-620(NDOk), 09-5034 and 09-5035 (Tenth Circuit), filed his

  Motion to Oppose, opposition and Motion for more time, to Affiant’s Motion to

  Vacate. Doc. 266.

        On December 15, 2009, Mr. Snoke filed his opposition to Mr. Stilley’s Motion


        8
            Mr. O’Reilly was with him on this submission.

                                             -8-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 13 of 30




  to Reconsider Stephen P. Friot’s decision to strike pleadings on December 9, 2009

  (Doc. 267), in which he argued it was not necessary for this Court to reconsider its

  striking of certain pleadings because a single case in the Fifth Circuit said that such

  an order would be reviewed for abuse of discretion.

        On December 15, 2009, Mr. Snoke filed his opposition to Mr. Stilley’s Motion

  to Reconsider Stephen P. Friot’s decision to strike pleadings on December 9, 2009

  (Doc. 267), in which he argued it was not necessary for this Court to reconsider its

  striking of certain pleadings because a single case in the Fifth Circuit said that such

  an order would be reviewed for abuse of discretion.9

                                       ARGUMENT

  1.    Stephen P. Friot was not ever nor is a commissioned Article III Judge assigned
        to the United States’ Northern Oklahoma Judicial District Court, pursuant to
        Title 28, Section 116(a) boundaries, or within the jurisdiction of section 116(a)
        district court.

        It is beyond dispute that Stephen P. Friot was commissioned to the United

  States’ Western Oklahoma Judicial District as an Article III judicial inferior Court

  officer on November 12, 2001. His appointment occurred on September 4, 2001 by

  then sitting President George W. Bush. What is equally not disputed is that none of

  the counties under Title 28, Section 116(c) are listed in Title 28, Section 116(a).

  Jurisdiction for a United States Western Oklahoma Judicial District Judge is limited

  to those places identified at Title 28, Section 116(c).



        9
       What Mr. Snoke did not state in his response was how striking such a
  document was not an abuse of any discretion nor could he.

                                            -9-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 14 of 30




        The Honorable Stephen P. Friot, United States Western Oklahoma Judicial

  District Judge has no commissioned jurisdiction in the United States’ Northern

  Oklahoma Judicial District defined at Title 28, Section 116(a).      An order of Recusal

  and removing him from this case is warranted and must be issued.

  2.    Chief Judge Claire V. Eagan had no judicial power or other lawful authority
        to “assign” Stephen P. Friot to exercise Article III inferior Court jurisdiction and
        authority within the United States’ Northern Oklahoma Judicial District Court.

        There is no question that Judge Payne was originally assigned to 09-cr-043.

  Equally beyond dispute is that Judge Payne recused himself on March 18, 2009.

  Where things go south is when the Clerk’s Office did not follow civil and criminal

  procedure Local Rule 40.1(a) which says:

        LCvR40.1 Assignment and Distribution of Cases.
        (a) Random Assignment of District Judges. Criminal and civil cases
        shall be assigned to district judges according to a system based on
        random selection both for initial assignment and for assignment in the
        event of recusal. The system of random case assignment, distribution
        of cases, and rotating supervision of the Grand Jury shall be
        determined by the Court.

        On March 31, 2009, docket # 24 states the Clerk of Court, at the direction of

  Chief Judge Eagan, assigns “Judge Stephen P. Friot” to 09-cr-043. There is nothing

  in the record of this Court that identifies the authority for Chief Judge Eagan to

  assign Stephen P. Friot to a case brought within the “jurisdiction” of Title 28, Section

  116(a). Stephen P. Friot is not within the list of random assignments, as he is not a

  commissioned Article III inferior Court Judge within the jurisdiction of Title 28, Section

  116(a), and as required by Title 28, Section 132,133 and 134.



                                             -10-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 15 of 30




        Chief Judge Eagan has no lawful constitutional or statutory authority to

  create Article III offices nor is she authorized to select who will be an Article III

  Judge to any case deposited within the Jurisdiction of the Northern Oklahoma

  Article III Judicial District Court under Title 28, Section 116(a). Chief Judge Eagan

  should have recused herself from any involvement in this case including who would

  be Judge.

        The assignment of Stephen P. Friot was unlawful and recusal is warrant as the

  order of assignment should be vacated and assigned to an unbiased impartial

  Judge of competent jurisdiction from the Northern Oklahoma Judicial District Court.

  3.    Misc.# 23 does not designate Stephen P. Friot to 09-cr-043 or for any other
        specific public interest or temporarily hold a court other than of his
        commission.


        It is undisputed that Stephen P. Friot is only commissioned to be an Article III

  Judge in the United States’ Western Oklahoma Judicial District Court. No law

  provides any Judicial Office holder under Article III for one Judicial District Court,

  to be considered automatically an Article III Judicial Officer in any other Article III

  Judicial District. Especially in a criminal case governed by Article III, Section 2,

  Clause 3 and the Sixth Amendment.

        In order for Stephen P. Friot to then be sitting outside of the jurisdictional

  boundaries set at Title 28, Section 116(a),10 in an Article III capacity, some authority


        10
         The Constitutionality of such temporary assignment is challenged in
  section 4.

                                            -11-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 16 of 30




  other than that of Stephen P. Friot’s commission, need be identified by Stephen P.

  Friot to sit in 09-cr-043. Not the purported United States Attorney’s say so.    Springer

  knows of no such lawful or statutory authority. Springer has a right to know what

  that authority is claimed to be so Springer can make any objections.

         The United States is expected to represent Stephen P. Friot on this issue as they

  did on April 16, 2009 by their response to Springer’s Motion for Clarification.11 Misc.

  # 23 states that it purports to be a “designation” under Title 28, Section 292(b) by

  Chief Judge Henry from the Tenth Circuit Court of Appeals.12

         Section 292(b) provides: "The chief judge of a circuit may, in the public

  interest, designate and assign temporarily any district judge of the circuit to hold a

  district court in any district within the circuit." In Re Kensington Intern. LTD., 368 F.3d

  289, 319 (3rd Cir. 2004); see also In Re Federal-Mogul Global Inc., 300 F.3d 368, 373

  (3rd Cir. 2002)(“In November 2001, the chief judge of this circuit, pursuant to 28

  U.S.C. § 292(b), assigned Judge Alfred M. Wolin, a senior district judge in the District

  of New Jersey, to sit by designation in the District of Delaware to manage five

  asbestos-related Chapter 11 proceedings, including that of Debtors)(civil).

         District Judges have also been transferred through the Judicial Council of the




         11
          This lone act merged the Executive and Judicial functions into one and
  violates the separation of powers.
         12
         On December 10, 2009, Chief Judge Henry announced his resignation to
  President Obama effective June, 2010.

                                             -12-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 17 of 30




  Third Circuit where a “crisis”13 existed “by transferring judges from other districts to

  help service the Virgin Islands workload.”14 In Re Jaritz Industries, 151 F.3d 93, 104

  (3rd Cir. 1998) At times the Courts have referred to this “assignment” as an

  “intracircuit” assignment under 28 U.S.C. § 292(b).      In Re Estate of Ferdinand E.

  Marcos Litigation, 978 F.2d 493, 503 (fn.3) (9th Cir. 1992)15

        Misc. # 23 says:

        “Pursuant to the provisions of Title 28, United States Code, § 292(b), I
        designate and assign the following United States District Judges in the
        Tenth Circuit to hold court in the districts listed opposite their names,
        from January 1, 2009, through December 31, 2009, and for any time in
        advance to prepare for the trial of cases, or as may be required to
        complete unfinished business:


        James H. Payne - Western District of Oklahoma
        Frank H. Seay - Northern and Western Districts of Oklahoma
        Clare V. Eagan - Eastern and Western Districts of Oklahoma
        Terence C. Kern - Eastern and Western Districts of Oklahoma
        Robin J. Cauthron - Eastern and Northern Districts of Oklahoma
        Timothy D. DeGuissti - Eastern and Northern Districts of Oklahoma
        Stephen P. Friot - Eastern and Northern Districts of Oklahoma
        Joe Heaton - Eastern and Northern Districts of Oklahoma
        Timothy Leonard - Eastern and Northern Districts of Oklahoma
        Vicki Miles-LaGrange - Eastern and Northern Districts of Oklahoma


        13
             Crisis was specified.
        14
             A “territory” of the United States.
        15
         A civil action without Article III, Section 2, Clause 3 and Sixth Amendment
  protections.

                                               -13-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 18 of 30




        David L. Russell - Eastern and Northern Districts of Oklahoma
        Lee R. West - Eastern and Northern Districts of Oklahoma
        FILED DEC.30.2008 U.S. DISTRICT COURT WESTERN DIST. OF OKLA.
        Copies of this designation shall be furnished to the designee Judge
        and Chief Judge and Clerks of the respective Districts.
        12-30-2009                               /s/ Robert H. Henry
        Date                                     Robert H. Henry, Chief Judge
                                                 United States Court of Appeals
        for the
                                                 Tenth Circuit.
  See Exhibit 2

        There is nothing in Misc. # 23 that could be relied upon to conclude Chief

  Judge Henry assigned Stephen P. Friot to 09-cr-043. No words in Misc. # 23 identify

  what the “public interest” is or what “court” Stephen P. Friot is to “hold.” In fact,

  docket entry # 24 explains the Clerk assigned Stephen P. Friot at the direction of

  Chief Judge Eagan and no other authority or reason is given.16

        There is no vacancy or any other reason for anyone to even need Chief

  Judge Henry to act under section 292(b). Even if their was, that reason must be

  stated on the record and is not stated. None of the other Northern Judicial District

  Court Judges recused themselves from random selection, after Judge Payne

  recused. What Court was Stephen P. Friot to “hold” under section 292(b)?

        Misc. # 23 does not identify the public interest, temporary assignment to “a


        16
        Misc. # 23 was not on file with the Clerk’s Office in the Northern
  Oklahoma Judicial District Court as of April 16, 2009 or at any other time.

                                          -14-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 19 of 30




  court,” was not filed in the Northern Oklahoma Judicial District, identified no

  specific office, nor does it even attempt to explain how such a signed document

  qualifies under Title 28, Section 292(b). Stephen P. Friot should be recused and/or

  removed as Misc. # 23 does not provide him with assignment or designation in any

  seat, vacant or otherwise within Title 28, Section 116(a).

  4.     Misc. # 23 is not lawful under Title 28, Section 292(b) and invalid.

         Springer takes exception with the fact the same day Misc. # 23 was

  purportedly “filed” in the “U.S. Dist. Court Western Dist. Of Okla” it appears signed

  by Chief Judge Henry. Section 292(b) refers to the limitation on the “chief judge”

  of “a circuit” may, in the public interest, designate and assign temporarily any

  district judge of the circuit to hold a district court in any district within the circuit. The

  phrase “A circuit” could easily mean section 292(b) speaks to a Chief Judge of all

  Circuit Courts under Title 28, Section 44.         The problem of course is that Chief

  Judges of Circuits have jurisdiction that is distinct. The District of Columbia would

  obviously be within Title 4, Section 72 while the rest of the Circuits appear not. Some

  Circuits sit over issues involving territories like the 2nd and 9th Circuit. See Nguyen v.

  United States, 539 U.S. 69, 79 (2003)

         Whatever may be the rule when a person’s judicial authority is challenged,

  the Supreme Court has described it as well settled "that where there is an office to

  be filled and one acting under color of authority fills the office and discharges its


                                              -15-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 20 of 30




  duties, his actions are those of an officer de facto and binding upon the public."

  McDowell v. United States, 159 U.S. 596, 602. Glidden Company v. Zdanok, 370 U.S.

  530, 535 (1962) Just not binding on the accused.

         Under former section 596, Revised Statutes, the Circuit Judge, whenever, in

  his judgment, the public interest so required, could designate and appoint, in the

  manner and with the powers provided in section 591, the District Judge of any

  judicial district within his circuit, to hold the District or Circuit Court in place of, or in

  aid of, any other District Judge within the same circuit. Ball v. United States, 140 U.S.

  118 128 (1891) This section contemplated that the appointment made under it

  should state what court the appointee was to hold, and that it was in place of the

  judge of the District Court, or in aid of him; and that the appointment should be

  filed and entered on the minutes, as provided in section 591. Id.

         The Supreme Court has agreed to correct, at least on direct review, violations

  of a statutory provision that "embodies a strong policy concerning the proper

  administration of judicial business" even when the defect was not raised in a timely

  manner. Glidden, 370 U.S., at 536 (plurality opinion). Springer raises the unlawfulness

  of Stephen P. Friot in this case timely.

         In American Constr. Co. v. Jacksonville, T. & K. W. R. Co., 148 U.S. 372 (1893),

  the case Justice Harlan cited for this proposition in Glidden, a judgment of the

  Circuit Court of Appeals was challenged because one member of that court had


                                              -16-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 21 of 30




  been prohibited by statute from taking part in the hearing and decision of the

  appeal.     The Supreme Court succinctly observed: "If the statute made him

  incompetent to sit at the hearing, the decree in which he took part was unlawful,

  and perhaps absolutely void, and should certainly be set aside or quashed by any

  court having authority to review it by appeal, error or certiorari." 148 U.S., at 387.

        The American Constr. Co. rule was again applied in William Cramp & Sons

  Ship & Engine Building Co. v. International Curtiss Marine Turbine Co., 228 U.S. 645

  (1913), even though the parties had consented in the Circuit Court of Appeals to

  the participation of a District Judge who was not permitted by statute to consider

  the appeal. Id., at 650. Rather than sift through the underlying merits, the Supreme

  Court remanded to the Circuit Court of Appeals "so that the case may be heard

  by a competent court, [organized] conformably to the requirements of the statute."

  Id., at 651. See also Moran v. Dillingham, 174 U.S. 153, 158 (1899) ("[T]his court,

  without considering whether that decree was or was not erroneous in other

  respects, orders the Decree of the Circuit Court of Appeals to be set aside and

  quashed, and the case remanded to that court to be there heard and determined

  according to law by a bench of competent judges" (emphasis deleted)). See

  Nguyen v. United States, 539 U.S. 69, 79 (2003)

        Whatever anyone would say Title 28, Section 292(b) enumerates to a single

  Chief Judge of a United States Circuit Court, what is suggested by the United States’



                                           -17-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 22 of 30




  Misc. # 23 intends to mean renders Misc. # 23 unlawful, illegal, and invalid.

        An order of recusal and/or removal regarding Stephen P. Friot should issue

  due to Misc. # 23 is unlawful, illegal, and invalid under Title 28, Section 292(b).

  5.    Chief Judge of Tenth Circuit and District Court have no Appointment Clause
        Authority to appoint any inferior commissioned officer under Article III as only
        Congress and the President are constitutionally enumerated.

        Article III enumerates that Congress is the only body to establish courts inferior

  to the one supreme Court. Article III, Section 1. Congress is enumerated at Article

  I, Section 8, clause 9 to establish those inferior Courts. Once those inferior court

  offices are established, by law, then the President may appoint, with the advice

  and consent of the Senate, a person to hold such office during good behaviour

  which is lifetime. Nguyen v. United States, 539 U.S. 69, 72 (2003) Chief Judges Henry

  from the Tenth Circuit, or Chief Judge Eagan from the Northern Oklahoma Judicial

  District, have no appointment clause power to do or say anything in regard to

  appointment, assignment or designation, of Article III inferior Court officers and

  case or controversy within their judicial power. See Article II, Section 2, Cl. 2.

        All one must ask is which “office” are the listed Judges in Misc. # 23 being

  designated or assigned to in Misc. # 23? The answer is clearly none.

        The “offices” Misc. # 23 directs to be filled do not exist nor are any such

  specific office even mentioned. Misc. # 23 is being used by the Department of

  Justice to offer an explanation, at least, as to how the Chief Judge of the Northern


                                           -18-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 23 of 30




  Oklahoma Judicial District Court selected a person to preside over an indictment

  outside that person’s Article III jurisdiction. No office is identified as vacant in the

  Northern Oklahoma Judicial District Court. No temporary assignment is made and

  no public interest is identified for such conclusions to be tested according to law.

        Even if these criteria could be made out, and they are clearly not, Springer

  asserts a commissioned inferior Article III officer within one geographical boundary

  could never carry that jurisdiction to another and be within the judicial power of the

  United States under Article III. There is no consent to Stephen P. Friot by Springer.

        What would the words in Misc. # 23 be that identify the “public interest” in

  having each commissioned Article III Judicial Office Holder in each of the three

  Judicial Districts, within the external boundaries of the State of Oklahoma, in

  becoming an Article III Judicial Office Holder in the other two Judicial Districts for

  renewable terms of 1 year? Whatever that might be it certainly was not intended

  by Congress passing Title 28, Section 292(b). The abuse this construction of section

  292(b) could lead to is impossible to calculate but to suffice it to say such abuse

  has demonstrated itself in this very case.

        Under the Department of Justice silent inference, there are 14 Northern

  Judicial District Court Judges; 14 Western Judicial District Court Judges; and 14

  Eastern Judicial District Court Judges. That equals 39 seats where Congress only

  established by law 3 in the Northern Judicial District Court, 6 in the Western Judicial


                                            -19-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 24 of 30




  District Court, and 1 in the Eastern Judicial District Court with 1 established in the

  Northern, Eastern and Western Judicial Districts Courts.17

        Then there is the added issue of making senior Judges from the Eastern and

  Western District Courts “District Judges” in the Northern, Eastern and Western

  Judicial Districts Courts. Imagine, Judge Payne is commissioned in the Northern,

  Eastern and Western Districts under Title 28, Section 133, yet Chief Judge Henry

  purportedly designated Judge Payne to the “Western District of Oklahoma” as his

  first designation in Misc. # 23.

        Congress can place in the hand of the Courts of Law “appointment of such

  inferior Officers, as they think proper” but the appointment must be “by law” and

  Congress did not think it proper to do what Misc. # 23 appears to be attempting to

  do.   Although Article III Judges, save the one supreme Court are “inferior office”

  holders, they are not subject to “appointment” by the “courts of law.” The seat or

  office must be created by law then the law will direct how that seat or office is to

  be filled. At best Congress could have intended that Article III Judges appointed

  for life could be used for other non Article III issues within the Tenth Circuit that life

  time tenure does not demand. This case is not one of those cases.

        The roots of the separation-of-powers concept embedded in the

  Appointments Clause are structural and political. Our separation-of-powers


        17
             This seat is currently commissioned to Judge Payne.

                                             -20-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 25 of 30




  jurisprudence generally focuses on the danger of one branch's aggrandizing its

  power at the expense of another branch. See Mistretta v. United States, 488 U.S.

  361, 382 (1989). The Appointments Clause not only guards against this

  encroachment but also preserves another aspect of the Constitution's structural

  integrity by preventing the diffusion of the appointment power.               Freytag v.

  Commissioner, 501 U.S. 868, 878 (1991)

        The Tenth Circuit is not a geographical boundary. It is a Jurisdictional

  boundary to an inferior Article III Court.        See Title 28, section 41 describing

  “composition” and not location. It may serve geographical boundaries but those

  boundaries can be Judicial District Courts and States previously established by law

  not districts. Misc. # 23 apparently creates 1 year term offices in the Northern,

  Eastern and Western Judicial District Courts of “Oklahoma.” 18 Congress has no

  power to give the Chief Judge of any Circuit to create 1 year term offices in any

  Article III Judicial District pertaining to Article III, Section 1 inferior Court offices.

  Those are not lifetime or for good behaviour. Springer struggles to even offer a

  legitimate reason why Chief Judge Henry, or for that matter, Chief Judge Eagan,

  considered that either of them had any such authority to either create such offices




        18
           “Oklahoma” cannot be the “State of Oklahoma” because this would
  render the Tenth Amendment meaningless and repugnant. All statutory
  construction should be to avoid placing the language into constitutional
  infirmity.

                                             -21-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 26 of 30




  or fill them.

         Article III of the Constitution requires that "[t]he Trial of all Crimes . . . shall be

  held in the State where the said Crimes shall have been committed." Art. III, § 2, cl.

  3. United States v. Rodriguez-Moreno, 526 U.S. 275, 278 (1999) Article III Judicial

  Power is limited “to cases and controversies in such form that the judicial power is

  capable of acting on them.” Postum Cereal Co. v. Calif. Fig. Nut. Co., 272 U.S. 693,

  700 (1927)

         The Supreme Court in Keller v. Potomac Electric Company, 261 U.S. 428, 440,

  442, 443 pointed out that, “while Congress in its constitutional exercise of exclusive

  legislation over the District may clothe the courts of the District not only with the

  jurisdiction and powers of the federal courts in the several States but also with such

  authority as a State might confer on her courts, Prentis v. Atlantic Coast Line

  Company, 211 U.S. 210, 225, 226, and so may vest courts of the District with

  administrative or legislative functions which are not properly judicial.”, Congress

  “may not do so with this Court or any federal court established under Article III of

  the Constitution.” Id.

         Stephen P. Friot should be recused and or removed as any assignment by

  anyone other than the President and Congress violates the appointment clause.

  6.     Assignment of Stephen P. Friot is unconstitutional.

         Any construction of any assignment of Stephen P. Friot to the Jurisdiction of

                                              -22-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 27 of 30




  the United States’ Northern Oklahoma Judicial District Court by either Chief Judge

  Henry or Chief Judge Eagan is in violation of Article III, Section 1, Article III, Section

  2, Clause 3, Article II, Section 2, Clause 2, and the Fifth and Sixth Amendment. The

  constitutional provisions have been outlined above and need not be addressed

  herein and are incorporated herein from above.

        The Supreme Court held in Gomez 490 U.S. 858 (1989) that imposition of a

  magistrate judge over objection was structural error, violating the basic right to a

  trial conducted at all critical stages by a judicial officer with appropriate

  jurisdiction. See also Gonzalez v. U.S., 06-11612, page 11 (U.S. 5-12-2008) We have

  stated that courts "are not at liberty to create an exception where Congress has

  declined to do so." Hallstrom v. Tillamook County, 493 U.S. 20, 27 (1989).

        "When a statute creates an office to which it assigns specific duties, those

  duties outline the attributes of the office. Any additional duties performed pursuant

  to a general authorization in the statute reasonably should bear some relation to

  the specified duties." 490 U.S., at 864.

        The Fifth Amendment provides that no life, liberty or property, shall be

  deprived of any person without due process of law.            Stephen P. Friot was not

  assigned as Judge in 09-cr-043 under any law whatsoever.

        The Sixth Amendment requires Springer have a jury trial and by trial it is meant

  the trial reserved by Article III, Section 2, Clause 3. Springer has not had any “trial”

                                             -23-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 28 of 30




  according to Article III, Section 2, Clause 3 and the Sixth Amendment. To have a

  trial means to have a Judge whom is de jure. Stephen P. Friot was not de jure nor

  is he de facto.     An order of recusal and or removal on Stephen P. Friot should be

  entered in the record of this case.

                                      CONCLUSION

        Lindsey Kent Springer respectfully requests an order (1) finding Stephen P. Friot

  is not a commissioned Article III Judge within the jurisdiction of Title 28, Section

  116(a) boundaries; (2) finding Chief Judge Claire V. Eagan had or has no Article

  III judicial power or other lawful authority to “assign” Stephen P. Friot to exercise

  Article III inferior Court judicial power within the United States’ Northern Oklahoma

  Judicial District Court; (3) finding Misc.# 23 does not designate Stephen P. Friot to

  09-cr-043 or for any other specific public interest or temporarily to hold an Article III

  Judicial Court; (4) finding Misc. # 23 not a lawful exercise under Title 28, Section

  292(b) and invalid; (5) finding Congress has not tendered to Chief Judge of a circuit

  Court, or Chief Judge of an Article III Judicial District Court, outside the District of

  Columbia, any Authority to appoint and assign any inferior commissioned officer

  to hold Article III court outside the District Court of his or her commission; and (6)

  finding the Assignment of Stephen P. Friot by Chief Judge Eagan is unconstitutional

  and in violation of the appointment clause;




                                            -24-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 29 of 30




        AS A RESULT OF THE FOREGOING, an order should be entered of record (A)

  Disqualifying the Honorable Stephen P. Friot United States’ Western Oklahoma

  District Court Judge from 09-cr-043 pursuant to Title 28, Sections 455(a) due to

  partiality in favor of the United States, 455(b)(1) due to prejudice and bias, (B) for

  recusal based upon Stephen P. Friot’s lack of jurisdiction outside the geographical

  boundaries set to his commission at Title 28, Sections 116(c), 132, 133, 134 and 451,

  (C) removal from holding court by Stephen P. Friot in the Northern Oklahoma

  Judicial District Court under Article III, and (D) for random reassignment under

  LCvR40.1.




                                   Respectfully Submitted
                                   /s/ Lindsey K. Springer
                                   Lindsey K. Springer
                                   5147 S. Harvard, # 116
                                   Tulsa, Oklahoma 74135
                                   918-748-5539/955-8225(cell)




                                           -25-
Case 4:09-cr-00043-SPF Document 272 Filed in USDC ND/OK on 12/28/09 Page 30 of 30




                              CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of Lindsey Kent Springer’s

  Brief Memorandum in support of his Motion to Disqualify, Removal, Recusal and

  Random Reassignment, with attachments, was ecf’d on December 28, 2009 to:




  Kenneth P. Snoke,
  Charles O’Reilly,
  Oscar Stilley




                           /s/ Lindsey K. Springer
                           Signature




                                         -26-
